         Case 18-13091-jkf                Doc 30       Filed 02/24/19 Entered 02/24/19 12:38:50                                          Desc Main
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 Fill in this information to identify your case:
     Debtor 1              Paula                Ann                     Thompson
                           First Name           Middle Name             Last Name                           Check if this is:
     Debtor 2                                                                                                    An amended filing
     (Spouse, if filing)   First Name           Middle Name             Last Name
                                                                                                                 A supplement showing postpetition
     United States Bankruptcy Court for the:   EASTERN DIST. OF PENNSYLVANIA
                                                                                                                 chapter 13 income as of the following date:
     Case number           18-13091
     (if known)
                                                                                                                 MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                            Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                            Employed
      with information about                                          Not employed                                        Not employed
      additional employers.
                                        Occupation             Medical Tech
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Holy Redeemer Health

      Occupation may include            Employer's address     12205 Townsend Rd.
      student or homemaker, if it                              Number Street                                       Number Street
      applies.




                                                               Phila.                        PA       19154
                                                               City                          State    Zip Code     City                    State   Zip Code

                                        How long employed there?         3 months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                             For Debtor 1            For Debtor 2 or
                                                                                                                     non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                   $6,000.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                       3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                  4.               $6,000.00




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Debtor 1        Paula Ann Thompson                                                                                               Case number (if known)    18-13091
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $6,000.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.           $1,258.25
     5b. Mandatory contributions for retirement plans                                                       5b.            $240.00
     5c. Voluntary contributions for retirement plans                                                       5c.               $0.00
     5d. Required repayments of retirement fund loans                                                       5d.               $0.00
     5e. Insurance                                                                                          5e.            $494.50
     5f. Domestic support obligations                                                                       5f.               $0.00
     5g. Union dues                                                                                         5g.               $0.00
     5h. Other deductions.
          Specify: See continuation sheet                                                                   5h. +              $58.70
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.            $2,051.45
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $3,948.55
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $3,948.55 +                      =                                                $3,948.55
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $3,948.55
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor has new full time employment with Holy Reedemer Hospital effective November 2018 with an
        Yes. Explain: increase in income.




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Debtor 1      Paula Ann Thompson                                                 Case number (if known)   18-13091


                                                                        For Debtor 1       For Debtor 2 or
                                                                                           non-filing spouse
5h. Other Payroll Deductions (details)
     Abington Twp Income Tax                                                   $55.10
     PA SUI                                                                     $3.60

                                                              Totals:          $58.70




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